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                                                                                         2022 Apr-15 PM 03:58
                                                                                         U.S. DISTRICT COURT
                                                                                             N.D. OF ALABAMA




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                              SOUTHERN DIVISION

 IN RE BLUE CROSS BLUE SHIELD                     :
 ANTITRUST LITIGATION                             : Master File 2:13-cv-20000-RDP
 MDL 2406                                         :
                                                  :
                                                  :
                                                  : This document relates to
                                                  : Subscriber Track cases

   NOTICE OF WITHDRAWAL OF ATTORNEY FOR SUBSCRIBER PLAINTIFFS’

       PLEASE TAKE NOTICE that Kimberly Francis withdraws as counsel for Subscriber

Plaintiffs, based on her leaving the law firm of Paul, Weiss, Rifkind, Wharton & Garrison LLP.

William A. Isaacson of Paul, Weiss, Rifkind, Wharton & Garrison LLP will continue to represent

Subscriber Plaintiffs in the matter.



Dated: April 15, 2022
New York, N.Y.                                     Respectfully submitted,

                                                   PAUL, WEISS, RIFKIND,
                                                   WHARTON & GARRISON LLP

                                                   /s/    Kimberly Francis

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                                   CERTIFICATE OF SERVICE

        I do hereby certify that I have on this 15th day of April 2022 caused the foregoing to be

filed with the Clerk of the Court using the CM/ECF system which will send notification of such

filing to all counsel of record.



                                                    /s/   Kimberly Francis
                                                    Kimberly Francis
